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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                            CASE NO. 20-80749-CIV-CANNON/Brannon

  ROYAL PALM OPTICAL, INC.,

            Plaintiff,
  v.

  STATE FARM MUTUAL AUTOMOBILE
  INSURANCE COMPANY and STATE FARM
  FLORIDA INSURANCE COMPANY,

        Defendants.
  ____________________________/

                    ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS

            THIS CAUSE came before the Court upon Defendants’ Motion to Dismiss Plaintiff’s First

  Amended Class Action Complaint (“Motion”) [ECF No. 33]. The Court has considered the

  Motion, Plaintiff’s Response in Opposition [ECF No. 36], Defendant’s Reply [ECF No. 37], the

  supplemental authorities filed by the parties and the responses thereto [ECF Nos. 38-49, 51-52,

  54, 56-58, 60-62, 76-77], the full record, and is otherwise fully advised in the premises. The Court

  also held a hearing on the Motion [ECF No. 75]. For the reasons set forth below, Defendants’

  Motion to Dismiss Plaintiff’s First Amended Class Action Complaint [ECF No. 33] is

  GRANTED.

       I.       Background

            According to the First Amended Class Action Complaint, Plaintiff entered into a contract

  with Defendants State Farm Florida Insurance Company and State Farm Mutual Automobile

  Insurance Company (“Defendants”) to insure Plaintiff’s business under an “all risk” policy bearing

  98-QC-5216-7 (“Policy”) [ECF No. 25 ¶ 3; see ECF No. 33-2]. Plaintiff owns and operates Royal

  Palm Optical Inc., a provider of prescription eyewear and sunglasses [ECF No. 25 ¶ 2]. Between

  March and April 2020, Plaintiff reduced its normal operations due to state and local government
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  orders    (“Orders)    that    imposed   restrictions 1   to   slow   the   spread   of   COVID-19

  [ECF No. 25 ¶¶ 51, 54-63]. Plaintiff alleges that it suffered at least $100,000 in lost revenue

  during this period [ECF No. 25 ¶¶ 61-62].

           On April 21, 2020, Plaintiff filed a claim with Defendants for reimbursement of loss of

  income [ECF No. ¶¶ 25-2]. That same day, Defendants denied the claim, stating that the Policy

  did not provide coverage for loss of income due to mandatory shutdowns [ECF No. 25-2, p. 1].

  The denial letter explained:

           [T]here is no coverage for the loss of income from the result of a mandatory
           shutdown due to the COVID-19 (Coronavirus). In order for there to be coverage
           under the CMP-4522.1 Loss of Income and Extra Expense endorsement, there
           needs to be a covered cause of loss insured under the CMP-4100 Businessowners
           Coverage Form Policy. Losses resulting from our caused by COVID-19
           (Coronavirus are excluded under the policy. Therefore, in the absence of a covered
           cause off loss, coverage for loss of income would not apply.

  [ECF No. 25-2, p. 1].

           On May 5, 2020, Plaintiff filed this action on behalf of itself and all members of a proposed

  “nationwide class” and “Florida class” of similarly situated business owners as to whom

  Defendants denied coverage for losses resulting from COVID-19 lockdown orders

  [ECF No. 1 ¶ 1]. Plaintiff thereafter amended its complaint, raising two counts: Declaratory

  Judgment (Count 1) and Breach of Contract (Count 2) [ECF No. 25 ¶¶ 138-158]. In Count 1,

  Plaintiff seeks a declaratory judgment that it is entitled to Loss of Income Coverage because it

  sustained an actual loss of income due to business closures, and that no coverage exclusions or

  limitations apply to exclude or limit coverage [ECF No. 25 ¶ 145]. In Count 2, Plaintiff alleges

  that Defendants breached their coverage obligations under the Policy by denying coverage for

  business income losses and extra expenses incurred by Plaintiff [ECF No. 25 ¶¶ 156-157].



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      Plaintiff references Palm Beach County Emergency Orders Nos. 2020-002 and 2020-002a,
  and Florida Governor’s Executive Order Nos. 20-89 and 20-91 [ECF No. 25 ¶¶ 49-50].
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         Defendants thereafter moved to dismiss the First Amended Complaint as to both counts

  [ECF No. 33], raising the following primary arguments.

         First, Defendants argue that Plaintiff’s claims are barred by the Policy’s Virus Exclusion

  [ECF No. 33, p. 5], which excludes from coverage any covered loss that is caused by a “Virus,

  bacteria or other microorganism that induces or is capable of inducing physical distress, illness or

  disease” [ECF No. 33-2, p. 74].

         Second, relying on Mama Jo’s Inc. v. Sparta Ins. Co., 823 F. App’x 868 (11th Cir. 2020),

  and other authorities, Defendants argue that, even without the Virus Exclusion (or any other

  exclusion), Plaintiff is barred from recovery as a threshold matter because Plaintiff’s allegations

  do   not   arise   from    an   “accidental   direct    physical   loss   to   Covered    Property”

  [ECF No. 33- 2, pp. 71- 72]—a prerequisite to coverage in the Policy [ECF No. 33, pp. 12-16].

  This is the most critical part of the Policy because it describes what event triggers the remainder

  of the Policy.

         Third, Defendants rely on three additional exclusions in the Policy, including (1) the

  “Ordinance or Law” exclusion, which bars coverage for any covered loss due to “[t]he enforcement

  of any ordinance or law regulating the … use of any property,” “even if the property has not been

  damaged” [ECF No. 33-2, p. 73]; (2) the “Acts or Decisions” exclusion, which bars coverage

  where the loss is caused by “conduct, acts or decisions, including the failure to act or decide, of

  any person, group, organization or governmental body whether intentional, wrongful, negligent or

  without fault” [ECF No. 33-2, p. 76]; and (3) the “Consequential Losses” exclusion, which bars

  coverage for “any loss whether consisting of or caused by … delay, loss of use or loss of market”

  [ECF No. 33-2, p. 74].

         Finally, Defendants argue that Plaintiff is not entitled to Loss of Income Coverage or Extra

  Expense Coverage provided by the Endorsement to the Policy, as those types of coverage do not


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  get triggered absent an “accidental direct physical loss to Covered property”—which has not

  happened here [ECF No. 33, pp. 19-20; ECF No. 33-2, p. 55].

          Plaintiff responds to Defendant’s position as follows.

          First, with respect to the threshold coverage question whether the claimed loss qualifies as

  an “accidental direct physical loss to Covered Property,” Plaintiff observes that (1) such language

  is not further defined in the Policy; (2) if “State Farm wanted to limit its liability to direct physical

  loss that required structural damage to property, it was required to do so as the drafter of the Policy”

  and (3) any residual ambiguity in those terms must be construed against State Farm

  [ECF No. 36, pp. 8-9]. Plaintiff cites as support the decision in Elegant Massage, LLC v. State

  Farm Mut. Auto. Ins. Co., No. 2:20-CV-265, 2020 WL 7249624 (E.D. Va. Dec. 9, 2020), where

  the District Court for the Eastern District of Virginia held, on a Rule 12(b)(6) motion, that the term

  “direct physical loss to property” was sufficiently ambiguous under Virginia law such that plaintiff

  plausibly experienced a covered loss when its property became inaccessible following COVID-19

  executive orders. Id. at **7-10 & n.4 (noting the state-specific nature of its analysis). Plaintiff

  also relies on Urogynecology Specialist of Fla. LLC v. Sentinel Ins. Co., Ltd., No.

  620CV1174ORL22EJK, 2020 WL 5939172 (M.D. Fla. Sept. 24, 2020), where the court denied an

  insurer’s motion to dismiss because the policy documents were not in the record, and the Eleventh

  Circuit had not issued any binding authority in the context of COVID-19 specifically. Id. at *4.

          Second, as to the Policy’s Virus Exclusion, Plaintiff says it does not apply because

  Plaintiff’s losses “arise from the Orders—not [from] a virus” [ECF No. 36, p. 14], and because the

  most natural meaning of the Virus Exclusion is that it applies to viruses that affect the physical

  property itself, like dry rot or fungi, not airborne viruses like COVID-19 [ECF No. 36, p. 14-15].

          Third, Plaintiff adds that none of the other exclusions on which Defendant relies applies in

  this case (referring to the exclusions for Ordinance or Law, Acts or Decisions, and Consequential


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  Loss). For instance, Plaintiff states that the COVID-19 Executive Orders are not “ordinances or

  laws,” but rather executive actions devoid of enforcement and thus not “laws” within the meaning

  of the Exclusion [ECF No. 36, pp. 20-21]. Plaintiff likewise argues that an exclusion based on the

  conduct, acts, or decisions of a governmental official should not apply because it would constitute

  an overly broad exclusion that would swallow the entire Policy [ECF No. 36, pp. 21-22].

  Additionally, Plaintiff argues that the “consequential loss” exclusion does not apply because it is

  designed to exclude damages “not directly attributable to a covered cause of loss,” whereas

  Plaintiff’s claims for loss of income are indeed a covered loss [ECF No. 33, p. 30].

           In Reply, Defendants reassert the absence of an “accidental direct physical loss to Covered

  Property” and the applicability of various exclusions in the Policy [ECF No. 37, p. 2].

     II.      Legal Standards

           A. Rule 12(b)(6) Standard

           A court may dismiss a complaint for failing to state a claim upon which relief can be

  granted. Fed. R. Civ. P. 12(b)(6). “To survive a motion to dismiss, a complaint must contain

  sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face.”

  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation and internal quotation marks omitted). This

  requirement “give[s] the Defendants fair notice of what the claim is and the grounds upon which

  it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (internal citation and alterations

  omitted). The court takes the plaintiff’s factual allegations as true and construes them in the light

  most favorable to the plaintiff. See, e.g., Pielage v. McConnell, 516 F.3d 1282, 1284 (11th Cir.

  2008).

           A complaint must contain enough facts to plausibly allege the required elements. See, e.g.,

  Watts v. Fla. Int’l Univ., 495 F.3d 1289, 1295–96 (11th Cir. 2007). A pleading that offers “a

  formulaic recitation of the elements of a cause of action will not do.” Iqbal, 556 U.S. at 678


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  (quoting Twombly, 550 U.S. at 555). “[C]onclusory allegations, unwarranted deductions of facts

  or legal conclusions masquerading as facts will not prevent dismissal.” Oxford Asset Mgmt., Ltd.

  v. Jaharis, 297 F.3d 1182, 1188 (11th Cir. 2002).

         B. Insurance Contract Interpretation under Florida Law

         In determining coverage under an insurance policy, courts look at the policy in its entirety

  and are required to give “every provision its full meaning and operative effect.” See State Farm

  Fire & Cas. Co. v. Steinberg, 393 F.3d 1226, 1230 (11th Cir. 2004) (internal quotation marks

  omitted). Thus, when construing a policy’s terms, “the pertinent provisions should be read in pari

  materia.” U.S. Fire Ins. Co. v. J.S.U.B., Inc., 979 So. 2d 871, 877 (Fla. 2007) (internal quotation

  marks omitted). “[I]nsurance contracts are construed according to their plain meaning.” Garcia

  v. Federal Ins. Co., 473 F.3d 1131, 1135 (11th Cir. 2006) (internal quotation marks omitted); see

  also Siegle v. Progressive Consumers Ins. Co., 819 So. 2d 732, 736 (Fla. 2002) (“[The] terms of

  an insurance policy should be taken and understood in their ordinary sense[,] and the policy should

  receive a reasonable, practical and sensible interpretation consistent with the intent of the parties.”

  (internal quotation marks omitted)). The unambiguous language of the policy is controlling;

  however, where the language is “susceptible to more than one reasonable interpretation, one

  providing coverage and the other limiting coverage, the insurance policy is considered ambiguous,

  and must be interpreted liberally in favor of the insured and strictly against the drafter who

  prepared the policy.” Steinberg, 393 F.3d at 1230 (internal quotation marks omitted).

         “Under Florida law, an insured seeking to recover under an all-risks policy . . . bears the

  burden of proving that a covered loss occurred at the insured property.” Berkower v. USAA Cas.

  Ins. Co., No. 15-23947-CIV, 2017 WL 1250419, at *7 (S.D. Fla. Apr. 4, 2017). Accordingly, the

  burden is on the insured to prove facts that bring its claim within an insurance policy’s affirmative

  grant of coverage. Id. With respect to exclusions more specifically, the burden falls on the insurer


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  to prove that an exclusionary clause precludes coverage, and exclusions are construed narrowly.

  See, e.g., U.S. Concrete Pipe Co. v. Bould, 437 So. 2d 1061, 1065 (Fla. 1983); Evanston Ins. Co.

  v. Budget Grp. Inc., 199 F. App’x 867, 868 (11th Cir. 2006) (citing Demshar v. AAACon Auto

  Transport, Inc., 337 So. 2d 963, 965 (Fla. 1976)); Hartnett v. Southern Ins. Co., 181 So. 2d 524,

  528 (Fla. 1965).

      III.      Discussion

             Under Section CMP-4100 of the coverage form, the Policy provides coverage as follows:

  “We insure for accidental direct physical loss to Covered Property unless the loss is: 1. Excluded

  in SECTION I – EXCLUSIONS; or 2. Limited in the Property Subject to Limitations provision”

  [ECF No. 33-2, p. 72]. 2 The covered property, as listed in the declaration pages of the Policy, is

  17940 N. Military Trail, #400, Boca Raton, Florida 33496 [ECF No. 33- 2, p. 5]. The policy

  provides additional coverage for “loss of income” [ECF No. 33-2, p. 55], and “extra expense”

  incurred during a “period of restoration that . . . would not have incurred if there had been no

  accidental direct physical loss to property at described premises” [ECF No. 33- 2, pp. 55-56].

  None of these additional avenues of coverage kick in, however, unless the claimed loss itself

  qualifies as a “covered loss” to begin with, and that again requires “accidental direct physical loss

  to Covered Property.” Thus, the requirement of “accidental direct physical loss to Covered

  Property” is the baseline in the Policy without which coverage does not apply

  [ECF No. 33- 2, p. 72].

             The premise of Plaintiff’s threshold coverage argument is that, although the property itself

  did not suffer actual physical damage, Plaintiff still has suffered “accidental direct physical loss to



  2
   The Court may consider the policy documents without converting Defendants’ motion into a
  motion for summary judgment because the policies are central to Plaintiff’s complaint, and no
  party questions their authenticity. See, e.g., Basson v. Mortg. Elec. Registration Sys., Inc., 741 F.
  App’x 770, 771 (11th Cir. 2018) (per curiam).
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  Covered Property,” because it was not able to use the property for its intended use or to gain access

  to the property as a result of COVID-19 and subsequent shutdown orders—thereby causing

  significant economic losses to its business [ECF No. 36 pp. 3, 12- 13]. Plaintiff’s reading does not

  accord with the plain language of the Policy’s coverage provision.

         The critical policy language at issue here—“accidental direct physical loss to Covered

  Property”—requires some form of actual, tangible damage to the physical property itself to trigger

  the Policy’s affirmative grant of coverage. This is borne out by the ordinary meaning of those

  terms as understood in context.

         We start with the noun “loss.” The dictionary definitions of the word “loss” include

  specific words like “destruction,” “ruin,” and “deprivation,” as well as more general references to

  concepts like “decrease in amount, magnitude, or degree,” “the amount of something lost,” and

  “the amount of an insured’s financial detriment by death or damage that the insurer is liable for.” 3

  Standing alone, the term “loss” is thus arguably broad, except that here it is preceded by two

  meaningful modifiers that force a much tighter natural meaning: “physical” and “direct.”

  “Physical” means “material”—i.e., that it “relat[es] to or [is] composed of matter” 4—and

  “material,” in turn, signifies “tangible” or “palpable”—i.e., that it is capable of being perceived by




  3
    See Merriam-Webster’s Collegiate Dictionary, 736 (11th ed. 2020); The American Heritage
  Dictionary of the English Language, 1037 (5th ed. 2018); Merriam-Webster’s Collegiate
  Thesaurus, 652 (2d ed. 2018) (providing as synonyms for “loss” the “related words” of
  “deprivation,” “dispossession,” and “privation,” among others, and defining “loss” as “a person or
  thing harmed, lost, or destroyed,” “the amount by which something is lessened – see
  DECREASE,” and “the state or fact of being rendered nonexistent, physically unsound, or
  useless—see DESTRUCTION”).
  4
    American Heritage Dictionary of the English Language, 1331 (5th ed. 2018) (defining
  “physical,” in relevant part, as “of or relating to material things”); Merriam-Webster’s Collegiate
  Dictionary, 935 (11th ed. 2020) (same); Merriam-Webster’s Collegiate Thesaurus, 794 (2d ed.
  2018).

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  the senses, especially by the sense of touch. 5 To that we add the word “direct,” which eliminates

  any break between the “physical loss” and the “Covered Property”—thereby making the “physical

  loss” run straight to the Covered Property, without an intervening or deviating influence. 6 This

  harm directed at the premises itself is confirmed by the Policy’s use of the preposition “to Covered

  Property”—as distinct from something more attenuated like “related to” or “arising from.” The

  modifier “to” thus further indicates that it is the physical premises itself that must receive the

  “direct physical loss.” 7

          Read in context, the textual combination of the Policy’s affirmative grant of coverage—

  “direct physical loss to Covered Property”—unambiguously requires actual tangible damage to the

  physical premises itself, not merely a claim that the property as a business has suffered adverse

  economic consequences or impact related to use of the property.

          This textual analysis is consistent with the Eleventh Circuit’s decision in Mama Jo’s Inc.

  v. Sparta Ins. Co., 823 F. App’x 868 (11th Cir. 2020), which provides pertinent guidance and

  supports the Court’s determination. In Mama Jo’s, the Eleventh Circuit affirmed the district




  5
   Merriam-Webster’s Collegiate Dictionary, 765 (11th ed. 2020) (defining “material,” inter alia, as
  “relating to or concerned with physical rather than spiritual or intellectual things” and “having the
  tangible qualities of a body such as shape, size, or resistance to force”); id. at 1276 (defining
  “tangible” as “capable of being perceived esp. by the sense of touch: PALPABLE” and
  “substantially real: MATERIAL”).
  6
    Merriam-Webster’s Collegiate Dictionary, 353 (11th ed. 2020) (defining the adjective “direct”
  as, inter alia, “being or passing in a straight line,” “having no compromising or impairing
  element,” “proceeding from one point to another in time or space without deviation or
  interruption,” and “marked by absence of an intervening agency, instrumentality, or influence”);
  Merriam-Webster’s Collegiate Thesaurus, 304 (2d ed. 2018) (defining “direct” as “in a direct line
  or course”).
  7
   Merriam-Webster’s Collegiate Dictionary, 1313 (11th ed. 2020) (explaining that “to,” when used
  as a function word, “indicates the receiver of an action or the one for which something is done or
  exists,” often to indicate “exclusiveness or separateness”); American Heritage Dictionary of the
  English Language, 1827 (5th ed. 2018) (defining “to” as “in a direction toward so as to reach,”
  “toward,” “in contact with,” “in front of, and also “in one direction,” among other definitions”).
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   court’s conclusion that a restaurant failed to establish that it suffered a direct physical loss that

   would trigger coverage under an insurance policy. The restaurant claimed a loss after nearby

   roadway construction blew dust and debris inside its facility, causing an economic loss due to

   decreased customer traffic and imposing cleaning expenses on the restaurant. The insurer denied

   the claim after concluding that the restaurant did not suffer a “direct physical loss or damage” to

   the insured property, and the district court thereafter entered summary judgment in favor of the

   insured. On appeal, the Eleventh Circuit affirmed, applying Florida law. The Court noted that “an

   item or structure that merely needs to be cleaned has not suffered a ‘loss’ which is both ‘direct’

   and ‘physical.’” Id. at 879 (citing Homeowners Choice Prop. & Cas. v. Maspons, 211 So. 3d 1067,

   1069 (Fla. Dist. Ct. App. 2020); Vazquez v. Citizens Prop. Ins. Corp., 304 So. 3d 1280, 1284 (Fla.

   Dist. Ct. App. 2020); Universal Image Prods., Inc. v. Fed. Ins. Co., 475 F. App’x 569, 573 (6th

   Cir. 2012) (“[C]leaning . . . expenses . . . are not tangible, physical losses, but economic losses.”);

   MRI Healthcare Ctr. of Glendale, Inc. v. State Farm Gen. Ins. Co., 187 Cal. App. 4th 766, 779

   (Cal. Ct. App. 2010) (“A direct physical loss ‘contemplates an actual change in insured property.”);

   AFLAC Inc. v. Chubb & Sons, Inc., 581 S.E. 2d 317, 319 (Ga. Ct. App. 2003). Applying that

   guidance here supports the clear meaning of the Policy language at issue—the loss needs to come

   directly from an actual, demonstrable, physical harm to the premises itself.

           In addition to the Eleventh Circuit’s decision in Mama Jo’s, the Court is persuaded by the

   dozens of district court decisions across the country, including in Florida, dismissing nearly

   identical claims for insurance coverage due to COVID-19 related business income losses. Without

   listing them all here, the bottom line is clear: nearly every court to confront this issue in the context

   of identical or nearly identical policy language has dismissed claims against insurers for economic

   losses unaccompanied by a demonstrable physical alteration to the premises itself. See, e.g.,

   Malaube, LLC v. Greenwich Ins. Co., No. 20-22615-CIV, 2020 WL 5051581, at *8 (S.D. Fla.


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   Aug. 26, 2020); Raymond H. Nahmad DDS PA v. Hartford Cas. Ins. Co., No. 1:20-CV-22833,

   2020 WL 6392841, at *6 (S.D. Fla. Nov. 2, 2020); Diesel Barbershop, LLC v. State Farm Lloyds,

   No. 5:20-CV-461-DAE, 2020 WL 4724305 (W.D. Tex. Aug. 13, 2020); Sandy Point Dental, PC

   v. Cincinnati Ins. Co., No. 20 CV 2160, 2020 WL 5630465, at *2 (N.D. Ill. 2020), reconsideration

   denied, No. 20 CV 2160, 2021 WL 83758 (N.D. Ill. Jan. 10, 2021).

          In sum, to trigger coverage under the plain and unambiguous language of the Policy,

   Plaintiff must allege actual physical damage to the premises itself. Plaintiff has not done so. Loss

   of access to a facility or temporary “suspension of normal operations” [ECF No. 25 ¶ 10] does not

   alone arise from direct physical loss to the insured property itself. Count 2 for breach of contract

   therefore fails to state a claim upon which relief can be granted. The same holds true for Count 1,

   Plaintiff’s declaratory judgment count, in which Plaintiff seeks a declaratory judgment that the

   Policy covers its business income lost due to the COVID-19 pandemic and subsequent shutdown

   orders [ECF No. 25 ¶ 145]. The Court already has rejected that contention, leaving nothing on

   which to issue a declaration. See 28 U.S.C. § 2201. See, e.g., Mauricio Martinez, DMD, P.A. v.

   Allied Ins. Co. of Am., No. 220CV00401FTM66NPM, 2020 WL 5240218, at *3 (M.D. Fla. Sept.

   2, 2020).

          As devastating as the COVID-19 pandemic and resulting shutdown orders have been on

   businesses across the country, the Court is tasked with applying the plain terms of the Policy

   language at issue, and that language does not cover the losses Plaintiff suffered under the

   circumstances presented. 8




   8
    In light of the Court’s ruling as to the Policy’s threshold grant of coverage, the Court need not
   address the applicability of any of the Policy’s exclusions.
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         IV.      Conclusion

               UPON CONSIDERATION of the Motion, the full record, and being otherwise fully

   advised in the premises, it is hereby ORDERED AND ADJUDGED as follows:

               1. Defendant’s Motion to Dismiss [ECF No. 33] is GRANTED.

               2. To the extent not otherwise disposed of, any scheduled hearings are CANCELED, all

                  pending motions are DENIED as moot, and all deadlines are TERMINATED.

               3. The Clerk of Court shall CLOSE this case.

               DONE AND ORDERED in Fort Pierce, this 29th day of March 2021.




                                                              _________________________________
                                                              AILEEN M. CANNON
                                                              UNITED STATES DISTRICT JUDGE

   cc:         counsel of record




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